        Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 1 of 38




 1

 2

 3

 4

 5

 6                                   UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                 Plaintiff,                         )
                                                      )             2:10-CR-579-GMN-(NJK)
10                              v.                    )             2:12-CR-346-GMN-(NJK)
                                                      )
11 CORNELIU WEIKUM and                                )
   YULIA MISHINA-HEFFRON,                             )
12                                                    )
             Defendants.                              )
13

14                                    FINAL ORDER OF FORFEITURE

15           On September 20, 2012, the United States District Court for the District of Nevada entered a

16 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 31, United States

17 Code, Sections 5332 and 5317 based upon the plea of guilty by defendant CORNELIU WEIKUM to
18 the criminal offense, forfeiting the property set forth in the Supplemental Plea Memorandum, the Bill

19 of Particulars, and the Forfeiture Allegations of the Criminal Indictment and shown by the United

20 States to have the requisite nexus to the offense to which defendant CORNELIU WEIKUM pled

21 guilty. Criminal Indictment, ECF No. 19; Bill of Particulars, ECF No. 73; Supplemental Plea

22 Memorandum for Defendant Corneliu Weikum, ECF No. 75; Change of Plea, ECF No. 80;

23 Preliminary Order of Forfeiture, ECF No. 78.

24           On September 20, 2012, the United States District Court for the District of Nevada entered a

25 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 31, United States

26 Code, Sections 5332 and 5317 based upon the plea of guilty by defendant YULIA MISHINA-
        Case 2:10-cr-00579-GMN-NJK            Document 217        Filed 04/30/15      Page 2 of 38




 1 HEFFRON to the criminal offense, forfeiting the property set forth in the Supplemental Plea

 2 Memorandum, the Bill of Particulars, and the Forfeiture Allegations of the Criminal Indictment and

 3 shown by the United States to have the requisite nexus to the offense to which defendant YULIA

 4 MISHINA-HEFFRON pled guilty. Criminal Indictment, ECF No. 19; Bill of Particulars, ECF No. 73;

 5 Supplemental Plea Memorandum for Defendant Yulia Mishina-Heffron, ECF No. 77; Change of Plea,

 6 ECF No. 80; Preliminary Order of Forfeiture, ECF No. 79.

 7           This Court finds the United States of America published the notice of forfeiture in accordance

 8 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

 9 from November 27, 2013, through December 26, 2013, notifying all potential third parties; and

10 notified known third parties by personal service, by regular mail and certified mail return receipt

11 requested, or by regular mail and Federal Express, of their right to petition the Court. Notice of Filing

12 Proof of Publication, ECF No. 97.

13           On December 6, 2013, Homeland Security Investigations served Heather Dixon with copies

14 of the Preliminary Orders of Forfeiture and the Notice by personal service. Notice of Filing Service of

15 Process - Personal Service and Service by Certified Mail and Regular Mail Completed by Homeland

16 Security Investigations, ECF No. 205, p. 1, 14 - 24.

17           On January 13, 2014, Homeland Security Investigations served Patrick Bischoff with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Personal Service and Service by Certified Mail

20 and Regular Mail Completed by Homeland Security Investigations, ECF No. 205, p. 1 - 13.

21           On January 14, 2014, U.S. Customs and Border Protection served Gerald Lee Aftem with

22 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

23 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

24 U.S. Customs and Border Protection, ECF No. 204.
25           On January 14, 2014, U.S. Customs and Border Protection served Riyadh Almadrhi with

26 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                      2
 8
        Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 3 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 14, 2014, U.S. Customs and Border Protection served Samuel J. Arnett with

 4 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 5 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 6 U.S. Customs and Border Protection, ECF No. 204.

 7           On January 14, 2014, U.S. Customs and Border Protection served Jason Austell with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

 9 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

10 Customs and Border Protection, ECF No. 204.

11           On January 14, 2014, U.S. Customs and Border Protection served James Balger with copies of

12 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

13 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

14 Customs and Border Protection, ECF No. 204.

15           On January 14, 2014, U.S. Customs and Border Protection served Charles Richard Barnes

16 with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail,

17 return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

18 Completed by U.S. Customs and Border Protection, ECF No. 204.
19           On January 14, 2014, U.S. Customs and Border Protection served Barry Motors c/o Mike

20 Barry with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified

21 mail, return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

22 Completed by U.S. Customs and Border Protection, ECF No. 204.

23           On January 14, 2014, U.S. Customs and Border Protection served Betty J. Baxter with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
25 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

26 U.S. Customs and Border Protection, ECF No. 204.

27                                                     3
 8
        Case 2:10-cr-00579-GMN-NJK            Document 217        Filed 04/30/15     Page 4 of 38




 1           On January 14, 2014, U.S. Customs and Border Protection served Bella Casa, LLC c/o

 2 Registered Agent Charles Davidson with copies of the Preliminary Orders of Forfeiture and the Notice

 3 through regular and certified mail, return receipt requested. Notice of Filing Service of Process -

 4 Certified Mail and Regular Mail Completed by U.S. Customs and Border Protection, ECF No. 204.

 5           On January 14, 2014, U.S. Customs and Border Protection served Jamie Rebecca Benna with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 14, 2014, U.S. Customs and Border Protection served Jared Bickner with copies

10 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

11 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

12 U.S. Customs and Border Protection, ECF No. 204.

13           On January 14, 2014, U.S. Customs and Border Protection served Steven Blanchard with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 14, 2014, U.S. Customs and Border Protection served Michael Blewett with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 14, 2014, U.S. Customs and Border Protection served Cheri J. Boucher with

22 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

23 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

24 U.S. Customs and Border Protection, ECF No. 204.
25           On January 14, 2014, U.S. Customs and Border Protection served Kenneth Boyle with copies

26 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                      4
 8
        Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 5 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 14, 2014, U.S. Customs and Border Protection served William Braun, Jr., with

 4 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 5 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 6 U.S. Customs and Border Protection, ECF No. 204.

 7           On January 14, 2014, U.S. Customs and Border Protection served Wesley Brewer with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 9 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

10 U.S. Customs and Border Protection, ECF No. 204.

11           On January 14, 2014, U.S. Customs and Border Protection served David E. Brown with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 14, 2014, U.S. Customs and Border Protection served Larry M. Brown with

16 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 15, 2014, U.S. Customs and Border Protection served Mark Bruner with copies of

20 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

21 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

22 Customs and Border Protection, ECF No. 204.

23           On January 15, 2014, U.S. Customs and Border Protection served Chandler Buie with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
25 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

26 U.S. Customs and Border Protection, ECF No. 204.

27                                                     5
 8
        Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 6 of 38




 1           On January 15, 2014, U.S. Customs and Border Protection served Matthew Burgan with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 3 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 4 U.S. Customs and Border Protection, ECF No. 204.

 5           On January 15, 2014, U.S. Customs and Border Protection served Sara Anita Burruel with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 15, 2014, U.S. Customs and Border Protection served Robert Cammarata with

10 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

11 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

12 U.S. Customs and Border Protection, ECF No. 204.

13           On January 15, 2014, U.S. Customs and Border Protection served Charles Campbell with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 16, 2014, U.S. Customs and Border Protection served Ruben Castaneda with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 16, 2014, U.S. Customs and Border Protection served Roberta Caswell with

22 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

23 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

24 U.S. Customs and Border Protection, ECF No. 204.
25           On January 16, 2014, U.S. Customs and Border Protection served Heidi and Eric Chan with

26 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                     6
 8
        Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 7 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 16, 2014, U.S. Customs and Border Protection served Bill Clothier with copies of

 4 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

 5 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

 6 Customs and Border Protection, ECF No. 204.

 7           On January 16, 2014, U.S. Customs and Border Protection served Heidi C. Clymer with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 9 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

10 U.S. Customs and Border Protection, ECF No. 204.

11           On January 16, 2014, U.S. Customs and Border Protection served Harold Coiner with copies

12 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 16, 2014, U.S. Customs and Border Protection served William Costigan with

16 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 16, 2014, U.S. Customs and Border Protection served Dianna M. Courntey with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

21 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

22 U.S. Customs and Border Protection, ECF No. 204.

23           On January 16, 2014, U.S. Customs and Border Protection served David A. Delacruz with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
25 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

26 U.S. Customs and Border Protection, ECF No. 204.

27                                                     7
 8
        Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 8 of 38




 1           On January 16, 2014, U.S. Customs and Border Protection served Barry Delong with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 3 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 4 U.S. Customs and Border Protection, ECF No. 204.

 5           On January 16, 2014, U.S. Customs and Border Protection served Rebecca Sue Dillon with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 16, 2014, U.S. Customs and Border Protection served Joette Jane Ditch with

10 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

11 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

12 U.S. Customs and Border Protection, ECF No. 204.

13           On January 16, 2014, U.S. Customs and Border Protection served Cindy Doxsie with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 16, 2014, U.S. Customs and Border Protection served Edward Dundon with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 16, 2014, U.S. Customs and Border Protection served Bruce Eckert with copies of

22 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

23 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

24 Customs and Border Protection, ECF No. 204.
25           On January 16, 2014, U.S. Customs and Border Protection served Terry Eisenman with copies

26 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                     8
 8
        Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 9 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 16, 2014, U.S. Customs and Border Protection served Christian D. Elizondo with

 4 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 5 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 6 U.S. Customs and Border Protection, ECF No. 204.

 7           On January 16, 2014, U.S. Customs and Border Protection served Frank Emory with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

 9 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

10 Customs and Border Protection, ECF No. 204.

11           On January 16, 2014, U.S. Customs and Border Protection served Annabel Filbert with copies

12 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 16, 2014, U.S. Customs and Border Protection served Peter C. Flaherty with

16 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 16, 2014, U.S. Customs and Border Protection served Carl Fontaine with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

21 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

22 U.S. Customs and Border Protection, ECF No. 204.

23           On January 17, 2014, U.S. Customs and Border Protection served Manuel Garcia with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
25 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

26 U.S. Customs and Border Protection, ECF No. 204.

27                                                     9
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 10 of 38




 1           On January 17, 2014, U.S. Customs and Border Protection served William Geisler with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 3 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 4 U.S. Customs and Border Protection, ECF No. 204.

 5           On January 17, 2014, U.S. Customs and Border Protection served Richard T. Gonzales with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 17, 2014, U.S. Customs and Border Protection served Haydie Gonzalez c/o John

10 Derrin with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified

11 mail, return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

12 Completed by U.S. Customs and Border Protection, ECF No. 204.

13           On January 17, 2014, U.S. Customs and Border Protection served Mary Susan Graves with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 17, 2014, U.S. Customs and Border Protection served George Gray with copies of

18 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt
19 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

20 Customs and Border Protection, ECF No. 204.

21           On January 17, 2014, U.S. Customs and Border Protection served David Green with copies of

22 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

23 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

24 Customs and Border Protection, ECF No. 204.
25           On January 17, 2014, U.S. Customs and Border Protection served Monica Hall with copies of

26 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

27                                                     10
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 11 of 38




 1 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

 2 Customs and Border Protection, ECF No. 204.

 3           On January 17, 2014, U.S. Customs and Border Protection served Jeff Hammer with copies of

 4 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

 5 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

 6 Customs and Border Protection, ECF No. 204.

 7           On January 17, 2014, U.S. Customs and Border Protection served Christine G. Hansen with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 9 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

10 U.S. Customs and Border Protection, ECF No. 204.

11           On January 17, 2014, U.S. Customs and Border Protection served Robert H. Harmon with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 17, 2014, U.S. Customs and Border Protection served James Hartigan with copies

16 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 17, 2014, U.S. Customs and Border Protection served Guadalupe Hernandez with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

21 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

22 U.S. Customs and Border Protection, ECF No. 204.

23           On January 17, 2014, U.S. Customs and Border Protection served Phu Duc Ho with copies of

24 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt
25 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

26 Customs and Border Protection, ECF No. 204.

27                                                     11
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217        Filed 04/30/15      Page 12 of 38




 1           On January 17, 2014, U.S. Customs and Border Protection served Corey Hutzenbeler with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 3 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 4 U.S. Customs and Border Protection, ECF No. 204.

 5           On January 17, 2014, U.S. Customs and Border Protection served Ron Ilk with copies of the

 6 Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

 7 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.
 8 Customs and Border Protection, ECF No. 204.

 9           On January 17, 2014, U.S. Customs and Border Protection served Howard James c/o

10 Netspheres with copies of the Preliminary Orders of Forfeiture and the Notice through regular and

11 certified mail, return receipt requested. Notice of Filing Service of Process - Certified Mail and

12 Regular Mail Completed by U.S. Customs and Border Protection, ECF No. 204.

13           On January 17, 2014, U.S. Customs and Border Protection served Sandra Jimenez with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 17, 2014, U.S. Customs and Border Protection served Deborah Johnson with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 17, 2014, U.S. Customs and Border Protection served Anushka Kalicharan with

22 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

23 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

24 U.S. Customs and Border Protection, ECF No. 204.
25           On January 17, 2014, U.S. Customs and Border Protection served Paul H. Kaplan with copies

26 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                     12
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 13 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 17, 2014, U.S. Customs and Border Protection served Noorali Karim with copies

 4 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 5 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 6 U.S. Customs and Border Protection, ECF No. 204.

 7           On January 17, 2014, U.S. Customs and Border Protection served Jim Kennedy with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

 9 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

10 Customs and Border Protection, ECF No. 204.

11           On January 17, 2014, U.S. Customs and Border Protection served Nasar Khan with copies of

12 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

13 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

14 Customs and Border Protection, ECF No. 204.

15           On January 17, 2014, U.S. Customs and Border Protection served Yaniv Konfino with copies

16 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 17, 2014, U.S. Customs and Border Protection served Dale Kramer with copies of

20 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

21 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

22 Customs and Border Protection, ECF No. 204.

23           On January 17, 2014, U.S. Customs and Border Protection served Robert Kristof with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
25 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

26 U.S. Customs and Border Protection, ECF No. 204.

27                                                     13
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 14 of 38




 1           On January 17, 2014, U.S. Customs and Border Protection served Faezeh A. Eduljee Kurosh

 2 with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail,

 3 return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

 4 Completed by U.S. Customs and Border Protection, ECF No. 204.

 5           On January 17, 2014, U.S. Customs and Border Protection served Priscilla A. Leitch with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 17, 2014, U.S. Customs and Border Protection served Michael Lenyo with copies

10 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

11 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

12 U.S. Customs and Border Protection, ECF No. 204.

13           On January 17, 2014, U.S. Customs and Border Protection served Kelly and Jonathan Leu

14 with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail,

15 return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

16 Completed by U.S. Customs and Border Protection, ECF No. 204.

17           On January 17, 2014, U.S. Customs and Border Protection served Victor Lin with copies of

18 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt
19 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

20 Customs and Border Protection, ECF No. 204.

21           On January 17, 2014, U.S. Customs and Border Protection served Lisa Liou with copies of the

22 Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

23 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

24 Customs and Border Protection, ECF No. 204.
25           On January 17, 2014, U.S. Customs and Border Protection served Thomas Little with copies

26 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                     14
 8
       Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 15 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 17, 2014, U.S. Customs and Border Protection served Bradley D. Lochman with

 4 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 5 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 6 U.S. Customs and Border Protection, ECF No. 204.

 7           On January 17, 2014, U.S. Customs and Border Protection served Wymond Love with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 9 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

10 U.S. Customs and Border Protection, ECF No. 204.

11           On January 17, 2014, U.S. Customs and Border Protection served Lisa Heinz Marino with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 17, 2014, U.S. Customs and Border Protection served Tommy Marshall with

16 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 17, 2014, U.S. Customs and Border Protection served Laura Mayeaux with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

21 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

22 U.S. Customs and Border Protection, ECF No. 204.

23           On January 17, 2014, U.S. Customs and Border Protection served Brian McCarthy with

24 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
25 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

26 U.S. Customs and Border Protection, ECF No. 204.

27                                                    15
 8
       Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 16 of 38




 1           On January 17, 2014, U.S. Customs and Border Protection served Nancy G. Melton with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 3 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 4 U.S. Customs and Border Protection, ECF No. 204.

 5           On January 17, 2014, U.S. Customs and Border Protection served Thomas Metzger with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 17, 2014, U.S. Customs and Border Protection served Daniel and Annabelle

10 Miller with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified

11 mail, return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

12 Completed by U.S. Customs and Border Protection, ECF No. 204.

13           On January 17, 2014, U.S. Customs and Border Protection served Lynne C. Miller with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 17, 2014, U.S. Customs and Border Protection served Charles Mills with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 17, 2014, U.S. Customs and Border Protection served Attila and Charles Morgan

22 with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail,

23 return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

24 Completed by U.S. Customs and Border Protection, ECF No. 204.
25           On January 17, 2014, U.S. Customs and Border Protection served Sam S. Morrison with

26 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                    16
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217        Filed 04/30/15      Page 17 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 17, 2014, U.S. Customs and Border Protection served Edgar and Cheryl

 4 Mosqueda with copies of the Preliminary Orders of Forfeiture and the Notice through regular and

 5 certified mail, return receipt requested. Notice of Filing Service of Process - Certified Mail and

 6 Regular Mail Completed by U.S. Customs and Border Protection, ECF No. 204.

 7           On January 17, 2014, U.S. Customs and Border Protection served Wallace Murdoch with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 9 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

10 U.S. Customs and Border Protection, ECF No. 204.

11           On January 17, 2014, U.S. Customs and Border Protection served Rick Murphy with copies of

12 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

13 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

14 Customs and Border Protection, ECF No. 204.

15           On January 17, 2014, U.S. Customs and Border Protection served Yolanda Navarette with

16 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 17, 2014, U.S. Customs and Border Protection served Craig Neal with copies of

20 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

21 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

22 Customs and Border Protection, ECF No. 204.

23           On January 17, 2014, U.S. Customs and Border Protection served Saud Negash with copies of

24 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt
25 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

26 Customs and Border Protection, ECF No. 204.

27                                                     17
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 18 of 38




 1           On January 17, 2014, U.S. Customs and Border Protection served C. Gale Nemec with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 3 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 4 U.S. Customs and Border Protection, ECF No. 204.

 5           On January 17, 2014, U.S. Customs and Border Protection served Irving K. Nemi with copies

 6 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 17, 2014, U.S. Customs and Border Protection served Scott Newman with copies

10 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

11 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

12 U.S. Customs and Border Protection, ECF No. 204.

13           On January 17, 2014, U.S. Customs and Border Protection served Larry Northrup with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 17, 2014, U.S. Customs and Border Protection served Joseph Nowicki with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 17, 2014, U.S. Customs and Border Protection served Mark Nuccio with copies of

22 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

23 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

24 Customs and Border Protection, ECF No. 204.
25           On January 17, 2014, U.S. Customs and Border Protection served Jeff B. Oakley with copies

26 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                     18
 8
       Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 19 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 17, 2014, U.S. Customs and Border Protection served Suzanne Oliver with copies

 4 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 5 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 6 U.S. Customs and Border Protection, ECF No. 204.

 7           On January 17, 2014, U.S. Customs and Border Protection served Larry S. Palmer with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 9 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

10 U.S. Customs and Border Protection, ECF No. 204.

11           On January 17, 2014, U.S. Customs and Border Protection served Claude Parent with copies

12 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 17, 2014, U.S. Customs and Border Protection served Samuel J. Parker with

16 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 17, 2014, U.S. Customs and Border Protection served Donald Pascucci with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

21 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

22 U.S. Customs and Border Protection, ECF No. 204.

23           On January 17, 2014, U.S. Customs and Border Protection served Calvin Peerson with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
25 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

26 U.S. Customs and Border Protection, ECF No. 204.

27                                                    19
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217        Filed 04/30/15      Page 20 of 38




 1           On January 17, 2014, U.S. Customs and Border Protection served Richard Pollack with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 3 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 4 U.S. Customs and Border Protection, ECF No. 204.

 5           On January 17, 2014, U.S. Customs and Border Protection served Constantin Popa with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 17, 2014, U.S. Customs and Border Protection served Jean Pierre Poulleau with

10 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

11 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

12 U.S. Customs and Border Protection, ECF No. 204.

13           On January 17, 2014, U.S. Customs and Border Protection served Robert Raymond with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 17, 2014, U.S. Customs and Border Protection served Stacy Lynne Rhone with

18 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 17, 2014, U.S. Customs and Border Protection served F. Michael and Patricia

22 Rogers with copies of the Preliminary Orders of Forfeiture and the Notice through regular and

23 certified mail, return receipt requested. Notice of Filing Service of Process - Certified Mail and

24 Regular Mail Completed by U.S. Customs and Border Protection, ECF No. 204.
25           On January 17, 2014, U.S. Customs and Border Protection served David J. Rosenfeld with

26 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                     20
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 21 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 17, 2014, U.S. Customs and Border Protection served Eric M. Scheufler with

 4 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 5 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 6 U.S. Customs and Border Protection, ECF No. 204.

 7           On January 17, 2014, U.S. Customs and Border Protection served Jeffery Scott with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

 9 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

10 Customs and Border Protection, ECF No. 204.

11           On January 17, 2014, U.S. Customs and Border Protection served Cynthia H. Smith with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 17, 2014, U.S. Customs and Border Protection served Jentri Smith with copies of

16 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

17 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

18 Customs and Border Protection, ECF No. 204.
19           On January 17, 2014, U.S. Customs and Border Protection served Mark Smith with copies of

20 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

21 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

22 Customs and Border Protection, ECF No. 204.

23           On January 17, 2014, U.S. Customs and Border Protection served Melissa Snell with copies

24 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
25 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

26 U.S. Customs and Border Protection, ECF No. 204.

27                                                     21
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 22 of 38




 1           On January 17, 2014, U.S. Customs and Border Protection served Michael Soulieres with

 2 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 3 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 4 U.S. Customs and Border Protection, ECF No. 204.

 5           On January 17, 2014, U.S. Customs and Border Protection served Jennifer Spears with copies

 6 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 17, 2014, U.S. Customs and Border Protection served John Spence with copies of

10 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

11 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

12 Customs and Border Protection, ECF No. 204.

13           On January 17, 2014, U.S. Customs and Border Protection served William A. Still with copies

14 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 17, 2014, U.S. Customs and Border Protection served Tom Sudheimer with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 17, 2014, U.S. Customs and Border Protection served James and Susan Swain

22 with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail,

23 return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

24 Completed by U.S. Customs and Border Protection, ECF No. 204.
25           On January 17, 2014, U.S. Customs and Border Protection served Theron Swain with copies

26 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                     22
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217        Filed 04/30/15      Page 23 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 17, 2014, U.S. Customs and Border Protection served Christian Tanguy Lingyun

 4 with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail,

 5 return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

 6 Completed by U.S. Customs and Border Protection, ECF No. 204.

 7           On January 17, 2014, U.S. Customs and Border Protection served Anastasia Teu with copies

 8 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 9 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

10 U.S. Customs and Border Protection, ECF No. 204.

11           On January 17, 2014, U.S. Customs and Border Protection served Lars G. Thureson with

12 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 17, 2014, U.S. Customs and Border Protection served Kathryn and Michael Titus

16 with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail,

17 return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

18 Completed by U.S. Customs and Border Protection, ECF No. 204.
19           On January 17, 2014, U.S. Customs and Border Protection served Joe Van Burgh with copies

20 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

21 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

22 U.S. Customs and Border Protection, ECF No. 204.

23           On January 17, 2014, U.S. Customs and Border Protection served Charles and Jennifer

24 Vanderminden with copies of the Preliminary Orders of Forfeiture and the Notice through regular and
25 certified mail, return receipt requested. Notice of Filing Service of Process - Certified Mail and

26 Regular Mail Completed by U.S. Customs and Border Protection, ECF No. 204.

27                                                     23
 8
       Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 24 of 38




 1           On January 17, 2014, U.S. Customs and Border Protection served Christopher M. Walcott

 2 with copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail,

 3 return receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail

 4 Completed by U.S. Customs and Border Protection, ECF No. 204.

 5           On January 17, 2014, U.S. Customs and Border Protection served William Walls with copies

 6 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

 7 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 204.

 9           On January 17, 2014, U.S. Customs and Border Protection served Phillippe M. Walser with

10 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

11 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

12 U.S. Customs and Border Protection, ECF No. 204.

13           On January 17, 2014, U.S. Customs and Border Protection served Robert A. Warden with

14 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

15 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 204.

17           On January 17, 2014, U.S. Customs and Border Protection served James Watkins with copies

18 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return
19 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

20 U.S. Customs and Border Protection, ECF No. 204.

21           On January 17, 2014, U.S. Customs and Border Protection served Christian White with copies

22 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

23 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

24 U.S. Customs and Border Protection, ECF No. 204.
25           On January 17, 2014, U.S. Customs and Border Protection served Robert Wilson with copies

26 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

27                                                    24
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217        Filed 04/30/15     Page 25 of 38




 1 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

 2 U.S. Customs and Border Protection, ECF No. 204.

 3           On January 17, 2014, U.S. Customs and Border Protection served Scott Wolf c/o Greater

 4 Boston Properties with copies of the Preliminary Orders of Forfeiture and the Notice through regular

 5 and certified mail, return receipt requested. Notice of Filing Service of Process - Certified Mail and

 6 Regular Mail Completed by U.S. Customs and Border Protection, ECF No. 204.

 7           On January 17, 2014, U.S. Customs and Border Protection served Doug Wolff with copies of

 8 the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return receipt

 9 requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by U.S.

10 Customs and Border Protection, ECF No. 204.

11           On January 17, 2014, U.S. Customs and Border Protection served Guy Woodward with copies

12 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

13 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 204.

15           On January 17, 2014, U.S. Customs and Border Protection served Bradley York with copies

16 of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

17 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

18 U.S. Customs and Border Protection, ECF No. 204.
19           On January 17, 2014, U.S. Customs and Border Protection served Dustin C. Zander with

20 copies of the Preliminary Orders of Forfeiture and the Notice through regular and certified mail, return

21 receipt requested. Notice of Filing Service of Process - Certified Mail and Regular Mail Completed by

22 U.S. Customs and Border Protection, ECF No. 204.

23           On August 21, 2014, U.S. Customs and Border Protection served Bridget Allim with copies of

24 the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail. Notice of
25 Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by U.S. Customs

26 and Border Protection, ECF No. 208.

27                                                     25
 8
       Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 26 of 38




 1           On August 21, 2014, U.S. Customs and Border Protection served Alan Benson with copies of

 2 the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail. Notice of

 3 Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by U.S. Customs

 4 and Border Protection, ECF No. 208.

 5           On August 21, 2014, U.S. Customs and Border Protection served Robert Franklin Black with

 6 copies of the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail.

 7 Notice of Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by
 8 U.S. Customs and Border Protection, ECF No. 208.

 9           On August 21, 2014, U.S. Customs and Border Protection served Keith and Jackie Caito with

10 copies of the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail.

11 Notice of Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by

12 U.S. Customs and Border Protection, ECF No. 208.

13           On August 21, 2014, U.S. Customs and Border Protection served Shameika M. Canty with

14 copies of the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail.

15 Notice of Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by

16 U.S. Customs and Border Protection, ECF No. 208.

17           On August 21, 2014, U.S. Customs and Border Protection served Jack Chang with copies of

18 the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail. Notice of
19 Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by U.S. Customs

20 and Border Protection, ECF No. 208.

21           On August 21, 2014, U.S. Customs and Border Protection served Roy Clay with copies of the

22 Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail. Notice of

23 Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by U.S. Customs

24 and Border Protection, ECF No. 208.
25           On August 21, 2014, U.S. Customs and Border Protection served David Kutoff with copies of

26 the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail. Notice of

27                                                    26
 8
       Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 27 of 38




 1 Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by U.S. Customs

 2 and Border Protection, ECF No. 208.

 3           On August 21, 2014, U.S. Customs and Border Protection served Bradley McKitterick with

 4 copies of the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail.

 5 Notice of Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by

 6 U.S. Customs and Border Protection, ECF No. 208.

 7           On August 21, 2014, U.S. Customs and Border Protection served David M. Rayner with

 8 copies of the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail.

 9 Notice of Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by

10 U.S. Customs and Border Protection, ECF No. 208.

11           On August 21, 2014, U.S. Customs and Border Protection served Dionisio J. Caronan with

12 copies of the Preliminary Orders of Forfeiture and the Notice through certified mail and regular mail.

13 Notice of Filing Supplemental Service of Process - Certified Mail and Regular Mail Completed by

14 U.S. Customs and Border Protection, ECF No. 208.

15           On August 21, 2014, U.S. Customs and Border Protection served Rafael Pina c/o Rap

16 Development, Inc., with copies of the Preliminary Orders of Forfeiture and the Notice through

17 certified mail and regular mail. Notice of Filing Supplemental Service of Process - Certified Mail and

18 Regular Mail Completed by U.S. Customs and Border Protection, ECF No. 208.
19           On August 25, 2014, U.S. Customs and Border Protection served Richard Hanchar with

20 copies of the Preliminary Orders of Forfeiture and the Notice through Federal Express and regular

21 mail. Notice of Filing Service of Process - Federal Express and Regular Mail Completed by U.S.

22 Customs and Border Protection, ECF No. 206.

23           On August 25, 2014, U.S. Customs and Border Protection served Henrik Haugaard with

24 copies of the Preliminary Orders of Forfeiture and the Notice through Federal Express and regular
25 mail. Notice of Filing Service of Process - Federal Express and Regular Mail Completed by U.S.

26 Customs and Border Protection, ECF No. 206.

27                                                    27
 8
       Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15     Page 28 of 38




 1           On August 25, 2014, U.S. Customs and Border Protection served Alan W. Howell with copies

 2 of the Preliminary Orders of Forfeiture and the Notice through Federal Express and regular mail.

 3 Notice of Filing Service of Process - Federal Express and Regular Mail Completed by U.S. Customs

 4 and Border Protection, ECF No. 206.

 5           On August 25, 2014, U.S. Customs and Border Protection served Karl Johansson with copies

 6 of the Preliminary Orders of Forfeiture and the Notice through Federal Express and regular mail.

 7 Notice of Filing Service of Process - Federal Express and Regular Mail Completed by U.S. Customs
 8 and Border Protection, ECF No. 206.

 9           On August 25, 2014, U.S. Customs and Border Protection served Jadranka Laus with copies

10 of the Preliminary Orders of Forfeiture and the Notice through Federal Express and regular mail.

11 Notice of Filing Service of Process - Federal Express and Regular Mail Completed by U.S. Customs

12 and Border Protection, ECF No. 206.

13           On August 25, 2014, U.S. Customs and Border Protection served Karl Nigel Piper with copies

14 of the Preliminary Orders of Forfeiture and the Notice through Federal Express and regular mail.

15 Notice of Filing Service of Process - Federal Express and Regular Mail Completed by U.S. Customs

16 and Border Protection, ECF No. 206.

17           On August 25, 2014, U.S. Customs and Border Protection served Parmjit Kaur Sandhu with

18 copies of the Preliminary Orders of Forfeiture and the Notice through Federal Express and regular
19 mail. Notice of Filing Service of Process - Federal Express and Regular Mail Completed by U.S.

20 Customs and Border Protection, ECF No. 206.

21           On February 25, 2015, the German Authorities, pursuant to a request by the United States

22 Department of Justice, personally served Andreas Strecker with copies of the Preliminary Orders of

23 Forfeiture and the Notice. See Andreas Strecker’s Motion for Return of Property, ECF No. 211.

24           The United States could not serve 66 individuals as they were originally identified by way of

25 bank records and searches of the various databases available to the Agents did not reveal any

26 additional contact information, specifically addresses: Adewumi Adeniyi, Steven C. Anderson, Damon

27                                                    28
 8
       Case 2:10-cr-00579-GMN-NJK           Document 217        Filed 04/30/15      Page 29 of 38




 1 C. Atkins, John Babcock, Christopher W. Baldwin, Jim Barklay, Jason Bigelow, Damario Bullock,

 2 Keith Chapman, Roger Chouinard, Ronald P. Colin, Billy Combs, Autumn R. Conroy Cornell,

 3 Anthony Cozlowicz, Raymond Daniels, Juergen Deforth, Ana Diaz, Marjerlyne Diaz, Amanda Dyer,

 4 Eide Motors, Donatus Ejike, Dany Fillion, Larry M. Floyd, Ruth V. Gaines, Monica Galvin, Yamileth

 5 Godinez, Hector Gonzalez, Richard Gouldbourne, Dwan Greenwaldt, Ricardo Guzman, Nora Jean

 6 Harmon, Gary Harrison, Sailor Jackson, Terry L. James, Herman Kirkland, Diana Lake, David Lewis,

 7 Marco Lopez, Jay Martin, Ian McGilivramy, Christina Mireless, Carmen Morales, Maureen Mullin,
 8 Stifel Nicolaus, Duston Odea, Manuel and Guadalupe Ortiz, Isidro A. Payamps, Gordon L. Peters,

 9 Thomas Prybyloski, Alisa Reed, John D. Rigby, Jason Rigdon, River Cross Bobcat Service, Clary

10 Rodriguez, Jarrell Rodriguez, Jay Schults, Daniel Segura, Omar Mohammad Shams, Edvard

11 Sinjankovich, Leah Stanley, Andy Thomas, Henry Kie Tong, Travis Voing, Nick J. Weber, Mark F.

12 Wilson, and Alejandro Yepez. Notice of Filing Service of Process - Certified Mail and Regular Mail

13 Attempted but Returned by U.S. Customs and Border Protection and Internal Revenue Service, ECF

14 No. 207.

15           In addition, the United States attempted service, but the service was returned and no new

16 address could be found within the various databases available to the Agents for the following 22

17 individuals: Luci Batson, Alan Cancro, Shanissa Daniels, Mike Foust, Kenneth Franklin, Jamar

18 Garden, Joseph Herburin, Tamerrick Devon Holloman, Brittany Humbert, Chad Isaacs, Javid Javdani,
19 Jackie Lofton, Amber McIntosh, Lisa Mejia, Milton Lester Newsome, Charlie Ottinger, Brendan

20 Newman Pickering, Andres Rivera, David Tucker, Kesley Umana, Ryan Van Tassel, and Mark Dillon

21 Williams. Notice of Filing Service of Process - Certified Mail and Regular Mail Attempted but

22 Returned by U.S. Customs and Border Protection and Internal Revenue Service, ECF No. 207.

23           On January 3, 2014, Heather Dixon filed a Petition for Remission or Mitigation of a Criminal

24 or Civil Forfeiture Action by the United States Department of Justice (ECF No. 98). On January 9,
25 2014, the Court struck the Petition and forwarded the Petition to the United States Attorney’s Office

26 pursuant to Title 28, Code of Federal Regulations, Section 9.4(e). Minute Order, ECF No. 99.

27                                                    29
 8
       Case 2:10-cr-00579-GMN-NJK          Document 217        Filed 04/30/15     Page 30 of 38




 1          On January 27, 2014, Richard T. Gonzales filed a Petition for Return of Monies Owed (ECF

 2 No. 100). On June 17, 2014, the United States filed a proposed Settlement Agreement Resolving

 3 Third-Party Claim as to Richard T. Gonzales (ECF No. 160). On June 30, 2014, the Court granted the

 4 Settlement Agreement Resolving the Third-Party Claim and Agreeing to Judgment of Forfeiture as to

 5 Richard T. Gonzales (ECF No. 177).

 6          On January 28, 2014, Samuel J. Parker filed a Petition for Return of Property (Cash) Seized

 7 (ECF No. 101). On June 27, 2014, the United States filed a Motion to Dismiss the Third-Party Claim
 8 of Samuel J. Parker (ECF No. 153). On August 15, 2014, the United States filed a proposed

 9 Settlement Agreement Resolving the Third Party Claim as to Samuel J. Parker (ECF No. 199). On the

10 same date, the Court granted the Settlement Agreement Resolving the Third Party Claim and Agreeing

11 to Judgment of Forfeiture as to Samuel J. Parker (ECF No. 200).

12          On January 28, 2014, James D. Balger filed a Petition for Return of Property Seized (ECF No.

13 102). On March 25, 2014, the United States filed a Motion to Dismiss the Third-Party Claim of James

14 Balger (ECF No. 143). On April 7, 2014, a Response was filed (ECF No. 147) and on April 14, 2014,

15 the United States filed its Reply (ECF No. 149). On June 18, 2014, the Court granted the United

16 States’ Motion to Dismiss the Third-Party Claim of James Balger (ECF No. 150).

17          On January 28, 2014, Charles R. Barnes filed a Petition for Return of Monies Owed (ECF No.

18 103). On June 27, 2014, the United States filed a proposed Settlement Agreement Resolving the
19 Third-Party Claim as to Charles Barnes (ECF No. 156). On June 30, 2014, the Court granted the

20 Settlement Agreement Resolving the Third-Party Claim and Agreeing to Judgment of Forfeiture as to

21 Charles Barnes (ECF No. 173).

22          On January 28, 2014, Jean-Pierre Poulleau filed a Petition for Return of Property (Money)

23 (ECF No. 103). On February 12, 2014, Jean-Pierre Poulleau withdrew his Motion for Return of

24 Property (Money). Notice of Withdrawal of Motion, ECF No. 118.
25          On January 29, 2014, Jennifer Clements Spears filed a Petition to Issue Restitution Awarded

26 in the Amount of $19,900 (ECF No. 107). On June 27, 2014, the United States filed a proposed

27                                                   30
 8
       Case 2:10-cr-00579-GMN-NJK          Document 217        Filed 04/30/15     Page 31 of 38




 1 Settlement Agreement Resolving the Third-Party Claim as to Jennifer Clements Spears (ECF No.

 2 167). On June 30, 2014, the Court granted the Settlement Agreement Resolving the Third-Party Claim

 3 and Agreeing to Judgment of Forfeiture as to Jennifer Clements Spears (ECF No. 184).

 4          On January 30, 2014, Brian J. McCarthy filed a Petition for Hearing to Adjudicate Legal

 5 Interest in Forfeited Property (ECF No. 109). On June 27, 2014, the United States filed a proposed

 6 Settlement Agreement Resolving the Third-Party Claim as to Brian J. McCarthy (ECF No. 164). On

 7 June 30, 2014, the Court granted the Settlement Agreement Resolving the Third-Party Claim and
 8 Agreeing to Judgment of Forfeiture as to Brian J. McCarthy (ECF No. 181).

 9          On February 4, 2014, Howard James filed a Motion for Hearing Regarding Right to Property

10 Seized from Defendants (ECF No. 112). On July 1, 2014, the United States filed a proposed

11 Settlement Agreement Resolving the Third-Party Claim as to Howard James (ECF No. 187). On July

12 7, 2014, the Court granted the Settlement Agreement Resolving the Third-Party Claim and Agreeing

13 to Judgment of Forfeiture as to Howard James (ECF No. 188).

14          On February 10, 2014, Constantin Popa filed a Petition for Hearing to Validate Legal Interest

15 in Property Forfeited (ECF No. 114). On June 27, 2014, the United States filed a proposed Settlement

16 Agreement Resolving the Third-Party Claim as to Constantin Popa (ECF No. 166). On June 30, 2014,

17 the Court granted the Settlement Agreement Resolving the Third-Party Claim and Agreeing to

18 Judgment of Forfeiture as to Constantin Popa (ECF No. 183).
19          On February 10, 2014, Peter C. Flaherty filed a Petition of Settlement (ECF No. 115). On

20 June 27, 2014, the United States filed a proposed Settlement Agreement Resolving the Third-Party

21 Claim as to Peter Flaherty (ECF No. 158). On June 30, 2014, the Court granted the Settlement

22 Agreement Resolving the Third-Party Claim and Agreeing to Judgment of Forfeiture as to Peter

23 Flaherty (ECF No. 175).

24          On February 12, 2014, William D. Geisler filed a Petition for Adjudication and Restitution

25 (ECF No. 117). On March 25, 2014, the United States filed a Motion to Dismiss the Third-Party

26 Claim of William D. Geisler (ECF No. 143). On April 7, 2014, a Response was filed (ECF No. 147)

27                                                   31
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 32 of 38




 1 and on April 14, 2014, the United States filed its Reply (ECF No. 149). On June 18, 2014, the Court

 2 granted the United States’ Motion to Dismiss the Third-Party Claim of William D. Geisler (ECF No.

 3 150).

 4           On February 14, 2014, Carl Fontaine filed a Motion for Return of Property (ECF No. 120).

 5 On June 27, 2014, the United States filed a proposed Settlement Agreement Resolving the Third-Party

 6 Claim as to Carl Fontaine (ECF No. 159). On June 30, 2014, the Court granted the Settlement

 7 Agreement Resolving the Third-Party Claim and Agreeing to Judgment of Forfeiture as to Carl
 8 Fontaine (ECF No. 176).

 9           On February 14, 2014, Bill Clothier filed a Petition for Payment of Restitution out of Funds

10 Ordered Forfeited (ECF No. 122). On June 27, 2014, the United States filed a proposed Settlement

11 Agreement Resolving the Third-Party Claim as to Bill Clothier (ECF No. 157). On June 30, 2014, the

12 Court granted the Settlement Agreement Resolving the Third-Party Claim and Agreeing to Judgment

13 of Forfeiture as to Bill Clothier (ECF No. 174).

14           On February 18, 2014, Brittany Humbert and Gino Vankuilenburg filed a Petition to

15 Adjudicate Validity of Interest (ECF No. 123). On June 27, 2014, the United States filed a proposed

16 Settlement Agreement Resolving the Third-Party Claim as to Brittany Humbert (ECF No. 161). On

17 June 30, 2014, the Court granted the Settlement Agreement Resolving the Third-Party Claim and

18 Agreeing to Judgment of Forfeiture as to Brittany Humbert (ECF No. 178).
19           On February 18, 2014, Jason Austell filed a Petition to Adjudicate Third Party Interest (ECF

20 No. 125). On June 27, 2014, the United States filed a proposed Settlement Agreement Resolving the

21 Third-Party Claim as to Jason Austell (ECF No. 155). On June 30, 2014, the Court granted the

22 Settlement Agreement Resolving the Third-Party Claim and Agreeing to Judgment of Forfeiture as to

23 Jason Austell (ECF No. 172).

24           On February 18, 2014, David Brown filed a Motion for Hearing to Adjudicate Validity of

25 Legal Interest in Property Forfeited (ECF No. 127). On July 22, 2014, the United States filed a

26 proposed Settlement Agreement Resolving the Third-Party Claim as to David Brown (ECF No. 192).

27                                                     32
 8
       Case 2:10-cr-00579-GMN-NJK          Document 217        Filed 04/30/15    Page 33 of 38




 1 On July 25, 2014, the Court granted the Settlement Agreement Resolving the Third-Party Claim and

 2 Agreeing to Judgment of Forfeiture as to David Brown (ECF No. 193).

 3          On February 18, 2014, Douglas Wolff filed a Petition for the $14,900 Defrauded by

 4 Defendants (ECF No. 128). On June 27, 2014, the United States filed a proposed Settlement

 5 Agreement Resolving the Third-Party Claim as to Douglas Wolff (ECF No. 168). On June 30, 2014,

 6 the Court granted the Settlement Agreement Resolving the Third-Party Claim and Agreeing to

 7 Judgment of Forfeiture as to Douglas Wolff (ECF No. 185).
 8          On February 18, 2014, Gerald Aftem filed a Motion for Return of Property (ECF No. 129).

 9 On June 27, 2014, the United States filed a proposed Settlement Agreement Resolving the Third-Party

10 Claim as to Gerald Aftem (ECF No. 154). On June 30, 2014, the Court granted the Settlement

11 Agreement Resolving the Third-Party Claim and Agreeing to Judgment of Forfeiture as to Gerald

12 Aftem (ECF No. 171).

13          On February 19, 2014, Irving Nemi filed a Petition Claiming Interest to Seized Assets and

14 Properties (ECF No. 131). On July 15, 2014, the United States filed a proposed Settlement Agreement

15 Resolving the Third-Party Claim as to Irving Nemi (ECF No. 190). On July 16, 2014, the Court

16 granted the Settlement Agreement Resolving the Third-Party Claim and Agreeing to Judgment of

17 Forfeiture as to Irving Nemi (ECF No. 191).

18          On February 20, 2014, Bradley York filed a Petition for Remission or Mitigation of the

19 Forfeiture and for Restitution (ECF No. 134). On June 27, 2014, the United States filed a proposed

20 Settlement Agreement Resolving the Third-Party Claim as to Bradley York (ECF No. 169). On June

21 30, 2014, the Court granted the Settlement Agreement Resolving the Third-Party Claim and Agreeing

22 to Judgment of Forfeiture as to Bradley York (ECF No. 186).

23          On February 20, 2014, Deborah and Corey Hutzenbeler filed a Motion for Hearing to

24 Adjudicate Legal Interest in Forfeited Property (ECF No. 134). On June 27, 2014, the United States
25 filed a proposed Settlement Agreement Resolving the Third-Party Claim as to Corey Hutzenbeler

26 (ECF No. 162). On August 15, 2014, the Court granted the Settlement Agreement Resolving the

27                                                   33
 8
       Case 2:10-cr-00579-GMN-NJK             Document 217        Filed 04/30/15      Page 34 of 38




 1 Third-Party Claim and Agreeing to Judgment of Forfeiture as to Corey Hutzenbeler (ECF No. 179).

 2 On August 14, 2014, the United States filed an Unopposed Motion Withdrawing the Claim of Deborah

 3 Hutzenbeler (ECF No. 198). On August 15, 2014, the Court granted the Unopposed Motion

 4 Withdrawing the Claim of Deborah Hutzenbeler (ECF No. 201).

 5           On February 21, 2014, Frank E. Emory, Jr., filed a Petition for Adjudication of Legal Interests

 6 in Forfeited Property (ECF No. 138). On June 27, 2014, the United States filed a Motion to Dismiss

 7 the Third-Party Claim of Frank Emory (ECF No. 153). On August 5, 2014, the United States filed a
 8 proposed Settlement Agreement Resolving the Third-Party Claim as to Frank Emory (ECF No. 196).

 9 On August 6, 2014, the Court granted the Settlement Agreement Resolving the Third-Party Claim and

10 Agreeing to Judgment of Forfeiture as to Frank Emory (ECF No. 197).

11           On February 26, 2014, Brad Lochman filed a Petition for Legal Interest (ECF No. 141). On

12 June 27, 2014, the United States filed a proposed Settlement Agreement Resolving the Third-Party

13 Claim as to Brad Lochman (ECF No. 163). On June 30, 2014, the Court granted the Settlement

14 Agreement Resolving the Third-Party Claim and Agreeing to Judgment of Forfeiture as to Brad

15 Lochman (ECF No. 180).

16           On March 5, 2015, Andreas Strecker filed a Motion for Return of Property (ECF No. 211).

17 On March 9, 2015, Government counsel spoke by telephone to Andreas Strecker, who resides in the

18 Republic of Germany and Mr. Strecker verbally withdrew any and all interest in his claim, electing to
19 join the class of victims, listed and specified herein, who have agreed to participate in the restoration

20 process to compensate, in part, for their losses based on the fraud that is the focus of this prosecution.

21           This Court finds no other petition was filed herein by or on behalf of any person or entity and

22 the time for filing such petitions and claims has expired.

23           This Court finds no petitions are pending with regard to the assets named herein and the time

24 for presenting such petitions has expired.
25 . . .

26 . . .

27                                                      34
 8
       Case 2:10-cr-00579-GMN-NJK             Document 217        Filed 04/30/15     Page 35 of 38




 1           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 2 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 3 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 4 32.2(c)(2); Title 31, United States Code, Sections 5332 and 5317; and Title 21, United States Code,

 5 Section 853(n)(7) and shall be disposed of according to law:

 6                  1.     $20,000.00 in United States Currency in a package(s) sent by defendant Yulia

 7                         Mishina-Heffron and seized by Department of Homeland Security - Homeland

 8                         Security Investigations on or about March 11, 2010;

 9                  2.     $1,089,300.00 in United States Currency seized from defendant Corneliu

10                         Weikum on or about October 22, 2010 at Las Vegas McCarran International

11                         Airport;

12                  3.     $248,800.00 in United States Currency seized by Department of Homeland

13                         Security - Homeland Security Investigations from a storage locker in Central

14                         District of California and controlled by the defendants on or about June 9, 2010;

15                  4.     $6,560.00 in United States Currency seized from the defendants incident to

16                         arrest on or about November 15, 2010;

17                  5.     a Chanel watch seized from the defendants incident to arrest on or about

18                         November 15, 2010; and

19                  6.     two Virtu phones seized from the defendants incident to arrest on or about

20                         November 15, 2010 (“property”).

21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

22 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

23 income derived as a result of the United States of America’s management of any property forfeited

24 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.
25 . . .

26 . . .

27                                                      35
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217        Filed 04/30/15      Page 36 of 38




 1          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 2 certified copies to the United States Attorney’s Office.

 3          DATEDthis
            DATED  this___
                        30th
                           dayday of April, 2015. 2015.
                               of ______________,

 4

 5                                                      ________________________________
                                                        Gloria M. Navarro, Chief Judge
 6
                                                  UNITEDUnited
                                                         STATESStates District JUDGE
                                                                  DISTRICT      Court
 7
 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24
25

26

27                                                     36
 8
       Case 2:10-cr-00579-GMN-NJK            Document 217       Filed 04/30/15      Page 37 of 38




 1                                          PROOF OF SERVICE
 2         I, Michelle C. Lewis, Paralegal Specialist, certify that the following individuals were served

 3 with copies of the Final Order of Forfeiture on April 15, 2015, by the below identified method of

 4 service:

 5         CM/ECF
 6            Thomas F. Pitaro                           John J. Momot, Jr.
              601 Las Vegas Blvd. South                  Yi Lin Zheng
 7            Las Vegas, NV 89101                        520 S. Fourth Street, Ste. 300
              thomaspitaro@yahoo.com                     Las Vegas, NV 89101
 8            Counsel for Corneliu Weikum                momotlawfirm@gmail.com
                                                         momotefiling@gmail.com
 9                                                       Counsel for Yulia Mishina-Heffron
10         Matthew W. Hoffman                            Jeffrey R. Albregts
           Atkinson & Watkins, LLP                       Holley, Driggs, Walch, Puzey & Thompson
11         10789 W. Twain Ave., Suite 100                400 S. Fourth Street, Third Floor
           Las Vegas, NV 89135                           Las Vegas, NV 89101
12         mhoffman@atkinsonwatkins.com                  Email: jalbregts@nevadafirm.com
           Interested Party, Gerald Aftem                Interested Party, Corey Hutzenbeler
13                                                       Interested Party, Deborah Hutzenbeler
14         First Class Mail
15            Jean-Pierre Poulleau                       Heather Dixon
              1700 Las Trampas Rd                        7405 Burnham Ave. #1007
16            Alamo, CA 94507-1826                       Las Vegas, NV 89123
17            James D. Balger                            Samuel J. Parker
              13127 Riverwoods Trail                     P.O. Box 3378
18            Grand Ledge, MI 48837                      Carefree, AZ 85377
19            Charles Richard Barnes                     Jennifer Clements Spears
              35 Highland View Drive                     560 Orchard Road
20            Southern Pines, NC 28387                   Pine Mountain Valley, GA 31823
21            Patrick M. Connolly                        Howard James
              One Glenlake Parkway                       3629 E. Kristal Way
22            Suite 1075                                 Phoenix, AZ 85050
              Atlanta, GA 30328
23            Interested Party, Brian J. McCarthy
24            Constantin Popa                            Peter C. Flaherty
              4976 Sweetwater Dr.                        P.O. Box 89
25            Noblesville, IN 46067                      Constantia, NY 13044
26

27                                                    37
 8
     Case 2:10-cr-00579-GMN-NJK   Document 217    Filed 04/30/15      Page 38 of 38




 1       William D. Geisler                Bill Clothier
         808 Swift Wind Place              192 Lopez Sound Road
 2       Wilmington, NC 28405              Lopez Island, WA 98261
 3       Gino Vankuilenburg                Brittany Humbert
         4217 F Swan Forrest               4217 F Swan Forrest
 4       Carrollton, TX 75010              Carrollton, TX 75010
 5       Jason Austell                     David Brown
         711 Kline St., Unit A             153 S. Sierra Ave., #470
 6       La Jolla, CA 92037                Solana Beach, CA 92075
 7       Douglas Wolff                     Irving Nemi
         961 Osceola Ave                   208 Perrywinkle Lane
 8       St. Paul, MN 55105                Gaithersburg, MD 20878
 9       Bradley J. York                   Frank E. Emory, Jr.
         7311 Lenburg Road                 2809 Sharon View Road
10       Portage, IN 46368                 Charlotte, NC 28210
11       Brad Lochman
         9490 Mistwater Close
12       Roswell, GA 30076
13

14                                        /s/ Michelle C. Lewis
                                          MICHELLE C. LEWIS
15                                        Paralegal Specialist
16

17

18
19

20

21

22

23

24
25

26

27                                       38
 8
